                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CRIMINAL DOCKET NO. 3:06CR51 V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )
                                )
                                )                              ORDER
JERMAINE BRYANT (1)             )
________________________________)


       THIS MATTER is before the Court on its own motion to continue the captioned
criminal matter from the 20 March 2006 criminal term in the Charlotte Division.
       The Court finds that the Defendants' cases are "joined for trial with a co-defendant
as to whom the time for trial has not run and no motion for severance has been granted,"
18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends
of justice served by taking such action outweigh the best interest of the public and the
Defendants to a speedy trial.
       IT IS, THEREFORE, ORDERED that this case is hereby continued from the March
2006 criminal term in the Charlotte Division to the 15 May 2006 criminal term in the
Charlotte Division.


                                             Signed: March 9, 2006




    Case 3:06-cr-00051-FDW-DCK          Document 13      Filed 03/09/06    Page 1 of 1
